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   5                            UNITED STATES DISTRICT COURT                      JS-6
                               CENTRAL DISTRICT OF CALIFORNIA
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   7   BRIANA VALDEZ,                              Case No.: 2:16-CV-06550-ODW-AGR
   8                  Plaintiff,
                                                      ORDER
   9           vs.
  10   SYNCHRONY BANK,
  11
                     Defendant.
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  14           Upon review of the Stipulation to Dismiss Synchrony Bank with Prejudice (Doc.
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       16), filed by Plaintiff Briana Valdez and Defendant Synchrony Bank and good cause
  16
       appearing,
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  18           IT IS ORDERED granting the Stipulation (Doc. 16). The above-entitled matter is

  19   hereby dismissed with prejudice, with the parties to bear their own costs and attorneys’
  20
       fees.
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       Dated: February 1, 2017                          ____________________________
  22                                                    Honorable Otis D. Wright, II
  23                                                    United States District Judge

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